                   IN THE UNITED STATE DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF MISSOURI

JEAN MORRIS,                             )
                                         )
      Plaintiff                          )
                                         )
v.                                       )      Case No.___________
                                         )
COX ENTERPRISES, INC.                    )
Serve Registered Agent:                  )      JURY TRIAL DEMANDED
Corporation Service Company              )
251 Little Falls Drive                   )
Wilmington, DE 19808                     )
                                         )
COX AUTOMOTIVE, INC.                     )
Serve Registered Agent:                  )
Corporation Service Company              )
251 Little Falls Drive                   )
Wilmington, DE 19808                     )
                                         )
AUTOTRADER.COM, INC.                     )
Serve Registered Agent:                  )
CSC-Lawyers Incorporating                )
Service Company                          )
221 Bolivar Street                       )
Jefferson City, MO 65101                 )
                                         )
      Defendants.                        )

                                     COMPLAINT

      COMES NOW Plaintiff, Jean Morris, by and through the undersigned counsel,

and states and alleges as follows against Defendants:

                             NATURE OF THE CLAIM

      1.     This is an action for legal and equitable relief to address the deprivation of

Plaintiff’s civil rights pursuant to the Missouri Human Rights Act (“MHRA”), Mo. Rev.

Stat. § 213.010; Title VII of the Civil Rights Act of 1964; the Age Discrimination in

Employment Act (“ADEA”); and for retaliation in violation of Missouri public policy, the

MHRA, Title VII, and the ADEA.



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                                        PARTIES

       2.     Plaintiff is and was at all times relevant to the allegations herein, a female

resident of the State of Missouri, and at the time of her termination, worked for

Defendants in Missouri.

       3.     Defendant Cox Enterprises, Inc. is a company incorporated in the State of

Delaware and headquartered in Atlanta, Georgia, and which is authorized to and

conducts business in the State of Missouri, where it employed Plaintiff. Defendant Cox

Enterprises, Inc. otherwise has sufficient minimum contacts with this District to confer

jurisdiction on this Court.

       4.     Defendant Cox Automotive, Inc. is a company incorporated in the State of

Delaware and headquartered in Atlanta, Georgia, and which is authorized to and

conducts business in the State of Missouri, where it employed Plaintiff. Defendant Cox

Automotive, Inc. otherwise has sufficient minimum contacts with this District to confer

jurisdiction on this Court.

       5.     Defendant Autotrader.com, Inc. is a company incorporated in the State of

Delaware and headquartered in Atlanta, Georgia, and which is authorized to and

conducts business in the State of Missouri, where it employed Plaintiff. Defendant

Autotrader.com otherwise has sufficient minimum contacts with this District to confer

jurisdiction on this Court.

       6.     On information and belief, at all times relevant to the allegations herein,

Defendants extended sufficient control over Plaintiff’s employment and otherwise

shared or jointly determined matters governing the terms and conditions of Plaintiff’s

employment, making Defendants joint employers of Plaintiff as it relates to the facts,

circumstances and claims set forth herein.

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                            JURISDICTION AND VENUE

       7.     All or a substantial portion of the actions complained of herein occurred in

this District and accordingly, jurisdiction and venue are proper in this Court.

       8.     This Court has jurisdiction over the subject matter because Plaintiff

asserts this civil action seeking monetary damages for violations of federal laws

prohibiting discrimination and retaliation.

       9.     This Court has personal jurisdiction over the defendants because

Defendants employed Plaintiff in Missouri, conducted and transacted business in

Missouri, and all or a substantial portion of the discriminatory and wrongful acts alleged

herein occurred in the State of Missouri. Additionally, there is diversity between the

parties and the amount in controversy exceeds $75,000.00.

       10.    Venue is proper in this Court because all or a substantial part of the

alleged acts, omissions and occurrences giving rise to the claims alleged herein occurred

in Jackson County, Missouri, which is within the jurisdiction of the Western District of

Missouri.

                        ADMINISTRATIVE PROCEEDINGS

       11.    Plaintiff timely filed a Charge of Discrimination with the Missouri

Commission on Human Rights and the Equal Employment Opportunity Commission

alleging sex and age discrimination and retaliation on or about September 20, 2016. A

true and accurate copy of the Charge is attached hereto as Exhibit A and

incorporated herein by reference.

       12.    Thereafter, on or about April 25, 2017, the Missouri Commission on

Human Rights issued Plaintiff a Notice of Right to Sue regarding her Charge of



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Discrimination. A true and accurate copy of the Charge is attached hereto as Exhibit

B and incorporated herein by reference.

      13.    On or about May 9, 2017, the Equal Employment Opportunity

Commission issued Plaintiff a Notice of Right to Sue regarding her Charge of

Discrimination. A true and accurate copy of the Charge is attached hereto as Exhibit

C and incorporated herein by reference.

                             FACTUAL ALLEGATIONS

      14.    Defendants employed Plaintiff as an Advertising Consultant for

approximately nine years, from August 2007 until her wrongful termination on or about

July 29, 2016.

      15.    Plaintiff is a 56 year-old female.

      16.    Plaintiff is within the “protected” age category.

      17.    Plaintiff’s sales territory traditionally included Kansas and Missouri, but

her territory was substantially Missouri at the time of her termination and for several

months leading up to her termination.

      18.    Defendants held team meetings for the Kansas City team in Missouri at

3901 N Skiles Ave, Kansas City, MO 64161.

      19.    When Plaintiff was not attending meetings with customers or co-workers,

Plaintiff primarily worked from her home office in Missouri.

      20.    Once Mark Keller became Defendants’ District Sales Manager in 2013,

Plaintiff began to notice a pattern and practice of age discrimination, whereby

Defendants were disciplining and/or terminating older workers.

      21.    In July 2015, Plaintiff’s supervisor, Mark Keller, asked if she would help

cover an open territory (Sedalia, Clinton, Warrensburg, and Lee’s Summit, Missouri)

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after a colleague left the company. Plaintiff agreed to do so and looked forward to the

opportunity.

       22.     In July 2015, Mr. Keller told Plaintiff that she would assume sales

responsibilities for Sedalia, Warrensburg, Clinton, and Lee’s Summit in Missouri,

because a more “mature” and “seasoned” salesperson was needed, whereby he was

referencing Plaintiff’s age and suggesting these territories would be more suitable for an

older employee to service.

       23.     That same evening, Plaintiff’s much younger colleague, Cassie Bajpeyi,

called Plaintiff and asked about her meeting with Mark Keller. Plaintiff informed her of

the additional territory she would be covering. Ms. Bajpeyi threw a fit on the phone and

said she wanted the territory instead. Ms. Bajpeyi is approximately 30 years old.

       24.     Mark Keller, upon complaint and demand of Cassie Bajpeyi, rescinded his

offer for Plaintiff to cover the open territory of Sedalia, Warrensburg, Clinton, and Lee’s

Summit, Missouri, and instead succumbed to Plaintiff’s much younger colleague, Ms.

Bajpeyi, and assigned the territory to her.

       25.     Between July 2015 and November 2015, Ms. Bajpeyi serviced Sedalia,

Clinton, Warrensburg, and Lee’s Summit, in addition to her normal territory of

Lawrence, Kansas City, Leavenworth, and North Johnson County, in Kansas.

       26.     On information and belief, Cassie complained to Mr. Keller about the new

territory of Sedalia, Clinton, Warrensburg, and Lee’s Summit, because customers were

cancelling their accounts with Defendants.

       27.     Thereafter in approximately the fall of 2015, Mr. Keller and the new

Regional Sales Director, Andy Lorenz, sought to change Plaintiff’s territory.



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       28.    Until approximately November 2015, Plaintiff’s sales territory had

included Olathe, Louisburg, Paola, South Johnson County, and Overland Park.

       29.    As of November 2015, Keller changed Plaintiff’s territory to Sedalia,

Clinton, Warrensburg, and part of Lee’s Summit, the territory about which Ms. Bajpeyi

had complained that the customers were cancelling their accounts.

       30.    Mr. Keller transferred to Plaintiff Ms. Bajpayi’s accounts that were

suffering neglect and pending cancellation, without first consulting or communicating

with Plaintiff. On information and belief, Mr. Keller did this so that Plaintiff would

suffer the revenue loss instead of Plaintiff’s younger colleague, Ms. Bajpeyi.

       31.    Mr. Keller then gave Ms. Bajpeyi Plaintiff’s most profitable territory that

included Olathe, Louisburg, Paola, South Johnson County, and Overland Park, in

Kansas.

       32.    Plaintiff had worked to grow and develop her profitable Kansas territory

for more than five years, and yet these accounts were transferred to Ms. Bajpeyi who

then unfairly benefitted from Plaintiff’s hard work. Meanwhile, as a result of the

transfer, Plaintiff’s revenue was approximately cut in half so that her commissions

earnings were approximately reduced by half as well.

       33.    Some of Plaintiff’s former Kansas customers informed her that they did

not want Ms. Bajpeyi to service them, such as Rob Sight Ford and Robert Brogden GMC

in Olathe, Kansas; and the Olathe Kia and Subaru dealerships. However, Defendants’

upper-level management ignored those requests and continued to allow Ms. Bajpeyi to

service those accounts instead of Plaintiff.

       34.    During the same time period, Defendants informed another older female

employee, Jill Fichtner, who was approximately 45 years old, that she would be losing

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most of her territory.   Ms. Fichtner had formerly serviced Springfield and Joplin,

Missouri. Springfield was taken away and given to a younger new employee, Erin

Sherman, who was approximately 35.

       35.    Plaintiff routinely complained to Mr. Keller of unfair treatment on the

basis of age and sex.

       36.    In December 2015, after Plaintiff had complained to Mr. Keller of unfair

treatment, Mr. Keller issued Plaintiff an unwarranted written warning and an

unwarranted performance improvement plan.

       37.    In February 2016, Plaintiff made a formal written complaint of

discrimination to Human Resources regarding its pattern and practice of favoring

younger, attractive female employees.

       38.    Plaintiff also complained to Defendants, including Mr. Keller and Human

Resources, about unlawful conduct by Andy Lorenz.

       39.    Specifically, Plaintiff complained that Mr. Lorenz deliberately failed to

honor customers’ requests to cancel their contracts after 30 days’ notice (per the

customers’ contractual agreement with Defendants which allows for 30 days’ notice to

cancel), so as to inflate his sales numbers since the customers would continue to be

charged rather than the charges being suspended after 30 days as should have been the

case based on those customers’ requests. As such, Mr. Lorenz defrauded, deceived, and

stole from Defendants’ customers.

       40.    In the spring of 2016, Defendants fired Andy Lorenz for the unlawful

conduct Plaintiff reported.

       41.    On information and belief, Mark Keller was angry with Plaintiff by reason

of complaints of discrimination and unlawful conduct by Mr. Lorenz.

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       42.    In the spring of 2016, Plaintiff not only met but well exceeded her second-

quarter goal (earning 140%), and earned a bonus.

       43.    Yet still, in June 2016, following Plaintiff’s verbal and written complaints

of discrimination and complaints of unethical conduct against Mr. Lorenz, Defendants

issued Plaintiff a final written warning.

       44.    At the end of July 2016, Mark Keller terminated Plaintiff’s employment.

       45.    Plaintiff believes she was terminated due to age and/or sex discrimination,

and/or in retaliation for her complaints of discrimination and/or in retaliation for her

complaints of Mr. Lorenz’s unlawful conduct.

       46.    Defendants also engaged in sexist and ageist conduct by, for example,

tending to give preferential treatment to younger female employees whom Defendants

considered to be attractive and flirtatious on the basis of sex.

       47.    Ms. Bajpeyi routinely engaged in flirtatious behavior with Mark Keller and

with her customers.

       48.    One customer requested that Ms. Bajpeyi not continue to service that

customer’s account due to her unprofessional, flirtatious behavior.

       49.    Mark Keller seemed particularly enamored by Ms. Bajpeyi’s youthful and

physical appearance and flirtatious behavior.

       50.    Mark Keller allowed Ms. Bajpeyi to get away with inappropriate and

unprofessional conduct, such as poor performance, failing to perform work duties, and

receiving a customer complaint for flirtatious behavior, on the basis of her age and/or

sex.

       51.    As a result of the company’s discriminatory and retaliatory conduct,

Plaintiff has suffered and will continue to suffer emotional distress and lost wages.

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                                     COUNT I
                             MHRA – Age Discrimination
                              R.S.Mo. § 213.010, et seq.
                              (Against All Defendants)

       52.     Plaintiff incorporates by reference all of the allegations in the Complaint as

if set forth herein.

       53.     Defendants engaged in a pattern and practice of giving preferential

treatment to younger workers outside of the protected age class, and subjecting older

workers to adverse actions, including but not limited to adverse territory reassignments,

unwarranted disciplinary actions, and termination.

       54.     Defendants further intentionally subjected Plaintiff to adverse actions on

the basis of her age, including but not limited to territory reassignments, unwarranted

disciplinary actions, and her wrongful termination, all of which adversely affected the

terms, conditions, compensation, and privileges of Plaintiff’s employment.

       55.     The conduct and actions of the above-described perpetrators as set forth

herein constituted discriminatory treatment by reason of Plaintiff’s age.

       56.     The actions and conduct of the above-described perpetrators as set forth

herein created a negative environment for Plaintiff and negatively affected the terms,

conditions, compensation, and/or privileges of Plaintiff’s employment.

       57.     The conduct described herein would have detrimentally affected a

reasonable person in Plaintiff’s position.

       58.     In addition, management-level employees knew or should have known of

the improper ageist conduct, but failed to fully address and remedy the problem.




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       59.    The conduct and actions of the above-described perpetrators as discussed

herein was conducted on the basis of Plaintiff’s age and constituted discrimination by

reason of Plaintiff’s age.

       60.    Without Defendants’ discriminatory and/or retaliatory conduct, Plaintiff’s

employment would not have ended.

       61.    By failing to conduct a prompt and thorough investigation of Plaintiff’s

allegations, Defendants condoned and exacerbated the discrimination.

       62.    Defendants’ unlawful conduct directly and proximately caused and will

continue to cause Plaintiff to suffer damages, including but not limited to lost wages and

emotional distress.

       63.    The actions and conduct set forth herein were outrageous and showed an

evil motive or reckless indifference or conscious disregard for the rights of Plaintiff, and

therefore Plaintiff is entitled to punitive damages from Defendants, to punish

Defendants and to deter Defendants and others from like conduct.

       64.    At all times mentioned herein, before and after, the above-described

perpetrators were agents, servants and employees of Defendants and were at all such

times acting within the scope and course of their agency and employment, and/or the

actions were expressly authorized by Defendants and/or their actions were ratified by

Defendants, thus making Defendants liable for said actions under the doctrine of

respondent superior.

       WHEREFORE, Plaintiff prays for judgment against Defendants on Count I of her

Complaint, for a finding that she has been subjected to unlawful discrimination

prohibited by R.S.Mo. § 213.010, et al.; for an award of compensatory and punitive



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damages; for front pay; for her costs expended; for her reasonable attorneys’ fees; and

for such other relief as this Court deems just and proper.




                                       COUNT II
                                 ADEA – Discrimination
                                (Against All Defendants)

       65.    Plaintiff hereby incorporates by reference every other allegation of this

Complaint as if fully set forth herein.

       66.    Defendants engaged in a pattern and practice of giving preferential

treatment to younger workers outside of the protected age class, and subjecting older

workers to adverse actions, including but not limited to adverse territory reassignments,

unwarranted disciplinary actions, and termination.

       67.    Defendants further intentionally subjected Plaintiff to adverse actions on

the basis of her age, including but not limited to territory reassignments, unwarranted

disciplinary actions, and her wrongful termination, all of which adversely affected the

terms, conditions, compensation, and privileges of Plaintiff’s employment.

       68.    The conduct and actions of the above-described perpetrators as discussed

herein was conducted on the basis of Plaintiff’s age and constituted discrimination by

reason of Plaintiff’s age.

       69.    Defendants, at all relevant times, had actual and constructive knowledge

of the conduct described herein.

       70.    Defendants failed to comply with their statutory duty to take all reasonable

and necessary steps to eliminate discrimination from the workplace and to prevent it

from occurring in the future.


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       71.    Defendants’ unlawful conduct directly and proximately caused and will

continue to cause Plaintiff to suffer damages, including but not limited to lost wages and

emotional distress.

       72.    The actions and conduct of the above-described perpetrators as set forth

herein were intentional, willful, malicious, grossly negligent, reckless, extreme, and

outrageous and exhibited a conscious disregard for Plaintiff’s rights and the rights of

others, and therefore Plaintiff is entitled to liquidated damages.

       WHEREFORE Plaintiff prays for judgment against Defendants on Count II of her

Complaint for a finding that she has been subjected to discrimination in violation of the

Age Discrimination in Employment Act; for an award of back pay, including lost

bonuses, cost of living increase and other benefits including interest; for an award of

compensatory and liquidated damages; pre-judgment and post-judgment interest as

provided by law; for her costs herein expensed; reasonable attorneys’ fees; and for such

other relief as this court deems just and proper.

                                   COUNT III
                            MHRA – Sex Discrimination
                             R.S.Mo. § 213.010, et seq.
                             (Against All Defendants)

       73.    Plaintiff incorporates by reference the preceding paragraphs of this

Complaint as though fully set forth herein.

       74.    Defendants unlawfully segregated or classified employees by giving

preferential treatment to younger, female employees whom Defendants considered to be

attractive and youthful looking, and flirtatious, which had the effect of depriving

Plaintiff of employment opportunities and otherwise affected her status as an employee

by reason of her sex and age.


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       75.    Defendants engaged in sexist, discriminatory conduct by tending to give

preferential treatment to younger females whom Defendants considered to be youthful,

attractive, and flirtatious.

       76.    Ms. Bajpeyi routinely engaged in flirtatious behavior with Mark Keller and

with her customers.

       77.    One customer requested that Ms. Bajpeyi not continue to service that

customer’s account due to her unprofessional, flirtatious behavior.

       78.    Mark Keller seemed particularly enamored by Ms. Bajpeyi’s youthful and

physical appearance and flirtatious behavior.

       79.    Mark Keller allowed Ms. Bajpeyi to get away with inappropriate and

unprofessional conduct, such as poor performance, failing to perform work duties, and

receiving a customer complaint for flirtatious behavior, on the basis of her sex including

her attractive physical appearance and flirtatious behavior.

       80.    Defendants subjected Plaintiff to adverse actions by reason of her sex

because Defendants believed she did not appear as youthful and attractive, or act as

flirtatious, as Defendants preferred their female employees to look and act.            Such

adverse actions included but were not limited to territory reassignments, unwarranted

disciplinary actions, and her wrongful termination, all of which adversely affected the

terms, conditions, compensation, and privileges of Plaintiff’s employment.

       81.    The conduct and actions of the above-described perpetrators as set forth

herein constitutes discriminatory treatment of Plaintiff on the basis of Plaintiff’s sex.

       82.    The actions and conduct by the above-described perpetrators as set forth

herein were discriminatory and detrimentally and adversely affected Plaintiff and the

terms, conditions, and privileges of Plaintiff’s employment.

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       83.    Defendants’ conduct would have been offensive to a reasonable person,

and would have detrimentally affected a reasonable person.

       84.    Management-level employees of Defendants knew or should have known

of the discrimination occurring on the basis of sex, but failed to address the problem,

and further failed to implement effective and appropriate procedures to stop such

conduct.

       85.    As a result of the company’s discriminatory and retaliatory conduct,

Plaintiff has suffered and will continue to suffer emotional distress and lost wages.

       86.    The actions and conduct set forth herein were outrageous and showed an

evil motive or reckless indifference or conscious disregard for the rights of Plaintiff, and

therefore Plaintiff is entitled to punitive damages from Defendants, to punish

Defendants and to deter Defendants and others from like conduct.

       WHEREFORE, Plaintiff prays for judgment against Defendants on Count III of

her Complaint for Damages, for a finding that she has been subjected to unlawful

discrimination prohibited by R.S.Mo. § 213.055; for an award of compensatory and

punitive damages; for her costs expended; for her reasonable attorneys’ fees; and for

such other relief as this Court deems just and proper.

                                       COUNT IV
                            Title VII – Sex Discrimination
                               42 U.S.C. § 2000e et seq.
                               (Against All Defendants)

       COMES NOW Plaintiff and for Count IV of her Complaint against Defendants

alleges and states as follows:

       87.    Plaintiff incorporates by reference the allegations in the preceding

paragraphs as if fully set forth herein.


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       88.     Defendants unlawfully segregated or classified employees by giving

preferential treatment to younger, female employees whom Defendants considered to be

attractive and youthful looking, and flirtatious, which had the effect of depriving

Plaintiff of employment opportunities and otherwise affected her status as an employee

by reason of her sex and age.

       89.     Defendants engaged in sexist, discriminatory conduct by tending to give

preferential treatment to younger females whom Defendants considered to be youthful,

attractive, and flirtatious, in violation of 703(a) of Title VII, 42 U.S.C. §2000e 2(a) and

§2000e 3(a).

       90.     Ms. Bajpeyi routinely engaged in flirtatious behavior with Mark Keller and

with her customers. One customer requested that Ms. Bajpeyi not continue to service

that customer’s account due to her unprofessional, flirtatious behavior.

       91.     Mark Keller seemed particularly enamored by Ms. Bajpeyi’s youthful and

physical appearance and flirtatious behavior.

       92.     Mark Keller allowed Ms. Bajpeyi to get away with inappropriate and

unprofessional conduct, such as poor performance, failing to perform work duties, and

receiving a customer complaint for flirtatious behavior, on the basis of her age and/or

sex and youthful, attractive appearance.

       93.     Defendants subjected Plaintiff to adverse actions by reason of her sex

because Defendants thought she did not look as attractive and youthful or act as

flirtatious as Defendants preferred their female employees to look and act. Such adverse

actions included but were not limited to territory reassignments, unwarranted

disciplinary actions, and her wrongful termination, all of which adversely affected the

terms, conditions, compensation, and privileges of Plaintiff’s employment.

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       94.    As a result of the company’s discriminatory and retaliatory conduct,

Plaintiff has suffered and will continue to suffer emotional distress and lost wages.

       95.    The discrimination to which Defendants subjected Plaintiff had the

purpose and effect of unreasonably interfering with the terms, conditions,

compensation, and privileges of Plaintiff’s employment.

       96.    The conduct as described herein would have offended a reasonable person

of the same gender in Plaintiff’s position.

       97.    Management-level employees of Defendants knew or should have known

of the sex discrimination described herein but failed to take appropriate action to

address the discrimination and further failed to implement effective and appropriate

procedures to stop and remedy the gender discrimination.

       98.    Defendants, through their agents and employees, engaged in the

discriminatory conduct described herein with malice or reckless indifference to

Plaintiff’s federally protected rights.

       99.    The actions and conduct set forth herein were outrageous and showed evil

motive or reckless indifference or conscious disregard for the rights of Plaintiff and

others, and therefore Plaintiff is entitled to punitive damages from Defendants, to

punish Defendants and to deter Defendants and others from like conduct.

       100.   As a direct and proximate cause of the actions and conduct set forth

herein, Plaintiff has suffered and will continue to suffer damages, including lost wages

and emotional distress.

       WHEREFORE, Plaintiff prays for judgment against Defendants on Count IV of

her Complaint, for a finding that she has been subjected to unlawful discrimination and

harassment prohibited by 42 U.S.C. §2000e et seq.; for an award of compensatory and

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punitive damages; equitable relief; for her costs expended; for her reasonable attorneys’

fees and expert fees as provided by 42 U.S.C. § 2000e 5(k); and for such other relief as

this Court deems just and proper.

                                       COUNT V
                                  MHRA – Retaliation
                                R.S.Mo. § 213.010, et seq.
                                (Against All Defendants)

         101.   Plaintiff incorporates by reference all of the allegations in the Complaint as

if set forth herein.

         102.   Plaintiff engaged in protected activity by reporting and attempting to

report Defendants’ inappropriate age and sex-based discriminatory treatment.

         103.   Defendants retaliated against Plaintiff in ways including but not limited to

by reallocating her territory, issuing her unwarranted discipline, and terminating her

employment.

         104.   Defendants failed to properly investigate Plaintiff’s complaints of

discrimination; instead, Defendants terminated Plaintiff’s employment.

         105.   Defendants violated Missouri law which provides zero tolerance for any

form of retaliation whatsoever.

         106.   Without the retaliatory treatment, Plaintiff’s employment would not have

ended.

         107.   Defendants’ retaliatory actions against Plaintiff have caused her emotional

distress.

         108.   At the time Defendants retaliated against Plaintiff, Defendants knew such

retaliation was unlawful.




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       109.   The actions and conduct set forth herein were outrageous and showed an

evil motive, reckless indifference, or conscious disregard for the rights of Plaintiff, and

therefore Plaintiff is entitled to punitive damages from Defendants, to punish

Defendants and to deter Defendants and others from like conduct.

       110.   At all times mentioned herein, before and after the above-described

perpetrators were agents, servants and employees of Defendants and were at all such

times acting within the scope and course of their agency and employment, and/or the

actions were expressly authorized by Defendants and/or their actions were ratified by

Defendants, thus making Defendants liable for said actions under the doctrine of

respondent superior.

       WHEREFORE, Plaintiff prays for judgment against Defendants on Count V of his

Complaint, for a finding that he has been subjected to unlawful retaliation prohibited by

R.S.Mo. § 213.010 et al.; for an award of compensatory damages and punitive damages;

for front pay; for her costs expended; for her reasonably attorneys’ fees; and for such

other relief as this Court deems just and proper.

                                     COUNT VI
                                 ADEA - Retaliation
                               (Against All Defendants)

       111.   Plaintiff hereby incorporates by reference every other allegation of this

Complaint as if fully set forth herein.

       112.   Plaintiff reported and opposed unlawful age discrimination in the

workplace.

       113.   Plaintiff’s complaints and reports of Defendants’ age discrimination to Mr.

Keller and Defendants’ Human Resources department constituted protected activity.



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       114.   Plaintiff’s continued opposition to Defendants’ discrimination against her

constituted protected activity.

       115.   By reason of Plaintiff’s complaints, Defendants retaliated against Plaintiff,

including subjecting Plaintiff to greater scrutiny and baseless claims of poor

performance, issuing her unwarranted discipline, and terminating her employment.

       116.   The actions Defendants took against Plaintiff might well have persuaded a

reasonable person in the same or similar circumstances of Plaintiff to not report or to

not oppose workplace discrimination.

       117.   Defendants would not have taken material adverse actions against Plaintiff

but for Plaintiff’s act of opposing and reporting unlawful discrimination in the

workplace.

       118.   Plaintiff’s reports of, and opposition to, unlawful discrimination and in the

workplace was a determining factor in Defendants’ decision to subject Plaintiff to

greater scrutiny and baseless claims of poor performance, issuing her unwarranted

discipline, and terminating her employment.

       119.   Defendants’ unlawful conduct directly and proximately caused and will

continue to cause Plaintiff to suffer damages, including but not limited to lost wages and

emotional distress.

       120.   Defendants’ actions were outrageous and showed an evil motive or

reckless indifference or conscious disregard for the rights of Plaintiff and others.

Therefore, Plaintiff is entitled to punitive damages from Defendants to punish

Defendants and to deter Defendants and others from like conduct.

       WHEREFORE Plaintiff prays for judgment against Defendants on Count VI of

her Complaint for a finding that she has been subjected to unlawful retaliation in

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violation of the Age Discrimination in Employment Act; for an award of back pay,

including lost bonuses, cost of living increase and other benefits including interest; for

an award of compensatory and punitive damages; pre-judgment and post-judgment

interest as provided by law; for her costs herein expensed; reasonable attorneys’ fees;

and for such other relief as this court deems just and proper.

                                        COUNT VII
                                  Title VII – Retaliation
                                 42 U.S.C. § 2000e et seq.
                                 (Against All Defendants)
       COMES NOW Plaintiff and for Count VII of her Complaint against Defendants

alleges and states as follows:

       121.     Plaintiff incorporates by reference the preceding paragraphs as if fully set

forth herein.

       122.     Plaintiff complained to Defendant of the sex discrimination to which

Defendants subjected Plaintiff.

       123.     Plaintiff’s complaints of sex discrimination constituted a legally protected

activity under Title VII.

       124.     By reason of Plaintiff’s complaints, Defendants retaliated against Plaintiff,

in ways including but not limited to subjecting Plaintiff to greater scrutiny and baseless

claims of poor performance, issuing her unwarranted discipline, and terminating her

employment.

       125.     At all times mentioned herein, before and after, the above-mentioned

individuals, were agents, servants, and employees of Defendants and were at all times

acting within the course and scope of their employment.




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       126.   Defendants’ retaliation against Plaintiff was intentional, willful, and

malicious, and constituted a willful violation of Plaintiff’s federally protected rights.

       127.   At the time Defendants retaliated against Plaintiff, Defendants knew that

such retaliation was unlawful.

       128.   The action and conduct set forth herein was outrageous and showed evil

motive or reckless indifference or conscious disregard for the rights of Plaintiff and

therefore Plaintiff is entitled to punitive damages from Defendants to punish and deter

Defendants and others from like conduct.

       129.   As a direct and proximate cause of the actions and conduct set forth

herein, Plaintiff has suffered and will continue to suffer damages including emotional

distress and lost wages.

       WHEREFORE, Plaintiff prays for judgment against Defendants on Count VII of

her Complaint, for a finding that she has been subjected to unlawful retaliation

prohibited by 42 U.S.C. §2000e et seq.; for an award of compensatory and punitive

damages; equitable relief; for her costs expended; for her reasonable attorneys’ fees and

expert fees provided by 42 U.S.C. § 2000e 5k and for such other relief as this Court

deems just and proper.

                               COUNT VIII
         Wrongful Termination in Violation of Missouri Public Policy
                        (Against All Defendants)

       130.   Plaintiff incorporates herein by reference the allegations contained in the

preceding paragraphs as though fully set forth herein.

       131.   Plaintiff reported to Defendants that her co-worker, Andy Lorenz, had

been engaging in unethical, improper, and unlawful behavior by deceiving, defrauding



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and/or stealing from Defendants’ customers, because Mr. Lorenz deliberately failed to

honor the customers’ cancellation requests, without consent, and instead continued to

charge customers for advertising services the customers had requested to cancel,

because Mr. Lorenz wished to inflate his own sales numbers.

      132.    Plaintiff reported Mr. Lorenz’s conduct which she in good faith believed to

be in violation of Missouri law and Missouri public policy.

      133.    On information and belief, Mr. Lorenz’s conduct violates Missouri law

and/or Missouri public policy including but not limited to as set forth in the Missouri

Merchandising Practices Act, § 407.010, et seq., R.S.Mo. § 407.020, and/or § 570.030,

and/or § 570.130, which are incorporated here by reference, and/or the public policies

underlying such laws.

      134.    Defendants violated the law and public policy of the State of Missouri by

terminating Plaintiff for her good faith reporting and belief that Mr. Lorenz was

engaging in practices of unlawful fraud, theft, deception, and/or stealing, in violation of

Missouri law and Missouri public policy as set forth herein.

      135.    As a direct and proximate cause of the alleged wrongful discharge,

Plaintiff has incurred and will continue to incur lost wages and is entitled to

compensatory damages for such loss.

      136.    As a direct and proximate cause of her wrongful discharge, Plaintiff has

suffered and will continue to suffer emotional distress.

      137.    The actions and conduct set forth herein were outrageous and showed evil

motive, reckless indifference and/or conscious disregard for the rights of Plaintiff and

therefore Plaintiff is entitled to punitive damages from Defendants to punish them and

to deter Defendants and others from similar conduct.

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       138.   At all times referenced herein, the above named perpetrators were

employees, agents and servants of Defendants, and were at all such times acting within

the course and scope of their employment with Defendants and/or their actions were

expressly authorized by Defendants, making Defendants liable under the doctrine of

respondeat superior.

       WHEREFORE, Plaintiff prays for judgment in her favor and against Defendants

on Count IV of the Complaint, for a finding that she has been subjected to wrongful

termination in violation public policy, for an award of compensatory and punitive

damages, for her costs expended, pre judgment and post judgment interest as provided

by law, and for such other and further relief as this Court deems just and proper,

including equitable relief.

                              JURY TRIAL DEMANDED

       Plaintiff demands a jury trial on all Counts alleged herein.



                                                 Respectfully submitted,


                                                 HOLMAN SCHIAVONE, LLC

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